                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
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Anthony Mays et al.,                  )   Case No. 20-cv-2134
                                      )
      Plaintiffs,                     )    Hon. Matthew F. Kennelly,
                                      )    in his capacity as Emergency Judge
v.                                    )
                                      )    Hon. Robert W. Gettleman,
Thomas J. Dart, Sheriff of Cook       )   District Court Judge
County,                               )
                                      )    Hon. M. David Weisman,
      Defendant.                      )    Magistrate Judge
_________________________________     )

 BRIEF OF AMICUS CURIAE CITY OF CHICAGO IN SUPPORT OF DEFENDANT’S
  OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION FOR A TEMPORARY
           RESTRAINING ORDER OR PRELIMINARY INJUNCTION

        The City of Chicago submits this amicus curiae brief because the relief sought by Plaintiffs

threatens to consume the resources of the City and endanger the health of its residents. Plaintiffs

request an order that would categorically and immediately release all detainees at Cook County

Jail with one of dozens of “vulnerabilities” that allegedly increase detainees’ susceptibility to

COVID-19. The City shares Plaintiffs’ concern for the safety of the detainees and staff at Cook

County Jail. Indeed, the Chicago Department of Public Health has worked closely with the

Sherriff’s Office and medical staff at the Jail in responding to the pandemic. Among other

measures, the Department of Public Health has conducted on-site review at the Jail, recommended

strategies for minimizing the risk of infection, and provided tens of thousands of pieces of personal

protective equipment.

        Determining whether detainees can be safely released from Cook County Jail, however,

requires individual review to protect the rights of the City, its residents, and detainees themselves.

Plaintiffs’ request fails to accomplish these critical goals.


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       First, we can all agree that no one should be incarcerated if they are not a flight risk or a

danger to the community, and never simply because they lack the ability to pay cash bail .

       However, Plaintiffs’ request for categorical release places Chicago residents at an

increased risk of being the victims of serious crimes. Plaintiffs make no attempt to distinguish

among detainees based on the nature of their offenses. It is one thing to release detainees charged

with non-violent offenses—and given recent criminal justice reform measures, fewer and fewer

non-violent defendants are detained at Cook County Jail. But Cook County Jail continues to house

many violent detainees who have been charged with serious crimes, such as murder, sexual assault,

and violence against children. If released, the overwhelming majority of these detainees will likely

return to Chicago. Yet Plaintiffs ask the Court to release detainees without any individualized

assessment into their risk of flight or danger to the community. That request fails to respect the

rights of Chicago residents who would live among released detainees.

       Second, Plaintiffs’ request threatens to consume even more scarce resources of the Chicago

Police Department. Police are already on the front lines dealing with issues caused by the

pandemic. Plaintiffs’ proposal threatens to divert critical police resources to respond to alleged

crimes committed by released detainees. To make matters worse, Plaintiffs’ request gives Chicago

police no advance notice about which detainees will be released or where those detainees will

reside upon release—critical facts for police to help protect City residents.

       Third, Plaintiffs’ request endangers the health of City residents and employees. Diagnosing

COVID-19 requires individualized medical review. But under Plaintiffs’ proposal for immediate

release, the Sheriff would not have the opportunity to provide the medical screening that is

currently part of the Sheriff’s protocol. Detainees could then return to their communities unaware

of their COVID-19 status, potentially infecting City residents as well as police officers and other



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City employees. If detainees were screened before release and diagnosed with COVID-19, by

contrast, the City has many resources available to ensure that detainees would be stepping into a

public health safety net. This would include helping detainees properly isolate themselves and

thereby reduce the risk of spreading the disease within the City at a time when containment of the

virus is paramount. Indeed, the City’s Department of Public Health has been working with the

Sheriff to help released detainees get services and do not fall through the cracks, endangering

themselves or others.

       Fourth, Plaintiffs’ request for immediate release reduces the likelihood that detainees will

successfully transition to life outside Cook County Jail. For example, Plaintiffs’ proposal makes

no attempt to ensure that released detainees have a stable home to which they can return. Some

detainees may consequently experience homelessness upon their release, expanding the numbers

of a particularly vulnerable community at a time when the City has been working tirelessly to

provide supports to this population and reduce the spread of the virus. Moreover, if detainees must

be immediately released, then they may lose the same access that they currently have to medical

care, both for any exposure to the virus and for the other ailments from which they allegedly suffer.

       In short, Plaintiffs’ requested relief imposes substantial costs and risks on the City and its

residents. These risks are unnecessary because, as the Sheriff explains, the Circuit Court of Cook

County has established a process by which detainees at the Jail can be individually reviewed to

determine whether they are suitable candidates for release. The City therefore respectfully requests

that the Court deny Plaintiffs’ motion for an order requiring the immediate and categorical release

of certain detainees at Cook County Jail and compel Plaintiffs instead to seek relief through the

process already established by the Presiding Judge of the Criminal Court.




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Dated: April 8, 2020   Respectfully submitted,

                       By: /s/ Mark A. Flessner
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                                 CERTIFICATE OF SERVICE

       I certify that on April 8, 2020, I electronically filed the foregoing with the Clerk of the

United States District Court for the Northern District of Illinois using the Court’s CM/ECF system,

which will automatically send notification of this filing to all counsel of record.

                                                      /s/ Stephen J. Kane




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